                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                              1:20-cv-372-MOC-WCM

MELVIN RICHARD ROBINSON, III,       )
                                    )
            Plaintiff,              )
                                    )
vs.                                 )
                                    )
                                    )                       ORDER
                                    )
PARDEE UNC HEALTHCARE,              )
SOUTHEASTERN SPORTS                 )
MEDICINE AND ORTHOPEDIC,            )
                                    )
            Defendants.             )
___________________________________ )

       THIS MATTER is before the Court on its own motion following remand from the

Fourth Circuit Court of Appeals. (Doc. No. 9).

        Pro se Plaintiff Melvin Richard Robinson, III, a North Carolina resident, filed this action

on December 14, 2020, naming as Defendants Pardee UNC Healthcare and Southeastern Sports

Medicine and Orthopedic, alleging that Defendants violated Title III of the Americans with

Disabilities Act (“ADA”). In support of his ADA claim, which he described as an “ADA Title 3

Communication Violation,” Plaintiff alleged the following in his original Complaint:

       Dr. Guram, Dr. Rudins, and staff didn’t notify my law firm or representation of the
       major changes in my injury diagnosis resulting in tainted insurance claims and loss
       of Social Security Disability insurance while destroying my Social Security
       Disability Retirement benefits and leaving me with an untreated spinal and head
       injury. . . . [and] by not letting my law firm know of the major injury changes when
       I have concussion syndrome. I’ve lost over 20 years of Medicare services and my
       Social Security retirement is destroyed due to the doctors changing my injuries
       without using the proper chain of communication according to title 3 of the ADA;
       communication.




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(Doc. No. 1 at 2). On initial review, this Court dismissed Plaintiff’s Complaint without prejudice,

finding that the factual allegations in Plaintiff’s Complaint fail to state a cognizable claim for a

violation of Title III of the ADA.

       Plaintiff appealed. The Fourth Circuit Court of Appeals dismissed the appeal and remanded

the case to this Court. In its remand order, the Fourth Circuit Court of Appeals instructed this Court

to either allow Plaintiff to amend his Complaint or to declare that the prior dismissal was with

prejudice. The Court will grant Plaintiff the opportunity to amend the Complaint.

       Plaintiff will be granted 30 days from entry of this Order in which to amend the Complaint.

       IT IS SO ORDERED.


 Signed: June 18, 2021




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